Case 1:19-cr-00499-ALC Document 57

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

x

United States of America,

-against-

Jose Martes,
xX

 

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ORDER
19-CR-499 (ALC)

ANDREW L. CARTER, JR., United States District Judge:

The Sentencing scheduled for November 6, 2020 is adjourned to March 11, 2021 at

12:00 p.m.
SO ORDERED.

Dated: New York, New York

— (Arde / Cung

 

ANDREW L. CARTER, JR.
UNITED STATES DISTRICT JUDGE

 

 
